3:16-cr-30049-SEM-KLM # 217   Page 1 of 8
                                                                 E-FILED
                                        Friday, 08 July, 2022 10:36:32 AM
                                            Clerk, U.S. District Court, ILCD
3:16-cr-30049-SEM-KLM # 217   Page 2 of 8
3:16-cr-30049-SEM-KLM # 217   Page 3 of 8
3:16-cr-30049-SEM-KLM # 217   Page 4 of 8
3:16-cr-30049-SEM-KLM # 217   Page 5 of 8
3:16-cr-30049-SEM-KLM # 217   Page 6 of 8
3:16-cr-30049-SEM-KLM # 217   Page 7 of 8
3:16-cr-30049-SEM-KLM # 217   Page 8 of 8
